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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

ROBERT A. KATZMANN                                               CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                      CLERK OF COURT

Date: December 01, 2016                                      DC Docket #: 15-cv-7433
Docket #: 16-3945                                            DC Court: SDNY (NEW YORK
Short Title: Giuffre v. Maxwell                              CITY)
                                                             DC Judge: Sweet



                        NOTICE OF RECORD ON APPEAL FILED



In the above referenced case the document indicated below has been filed in the Court.

____ Record on Appeal - Certified List

____ Record on Appeal - CD ROM

____ Record on Appeal - Paper Documents

_XX___ Record on Appeal - Electronic Index

____ Record on Appeal - Paper Index

Inquiries regarding this case may be directed to 212-857-8638.
